
GVS Properties LLC, 
	Petitioner-Landlord-Appellant, 
againstElsa Garcia and Teodoros Garcia, Respondents-Tenants-Respondents, - and - "John &amp; Jane Doe," Respondents.



Landlord appeals from (1) an order of the Civil Court of the City of New York, New York County (Verna L. Saunders, J.), dated October 23, 2012, which, among other things, conditionally granted tenants' motion to be restored to possession of the subject premises upon payment to landlord by a date certain of all rent arrears, marshal costs, and attorneys' fees in a nonpayment summary proceeding; and (2) an order (same court and Judge), dated October 24, 2012, which denied landlord's request for a stay of the aforesaid order, directed landlord to accept tenants' tender of arrears and ordered tenants to pay landlord's additional moving and storage costs.




Per Curiam.
Appeal from orders (Verna L. Saunders, J.), dated, respectively, October 23, 2012 and October 24, 2012, dismissed, without costs. 
In view of landlord's unexplained four-year delay in bringing this appeal, the nature of which dictated a prompt prosecution of an appeal, if any was to be taken from the order granting tenant's posteviction motion to be restored to possession, this court would not be warranted in reviewing the discretionary determination rendered below (see American Sav. Bank v Harmin Prop. Corp., 274 App Div 917 [1948]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: December 06, 2016










